Case 1:21-cv-00406-TWP-TAB 49D02-2101-CT-002698
                           Document 1-2 Filed 02/22/21 Page 1 of 31 PageID
                                                                       Filed:#:  7
                                                                              1/26/2021 12:39 PM
                                                                                                                                                     Clerk
                                                                Marion Superior Court 2                                             Marion County, Indiana




  STATE OF INDIANA                               )             lN    THE MARION COUNTY SUPERIOR COURT
                                                 )

  COUNTY OF MARION                               )             CAUSE NO.

  THE ESTATE OF ELEANOR NORTHINGTON,
                            Plaintiff,

              Vs.


  THE CITY OF INDIANAPOLIS and
  INDIANAPOLIS METROPOLITAN POLICE
  DEPARTMENT and JOHN DOE, POLICE OFFICERS,
  1-50   in   Their Individual and            Official        Capacities
  and MT.          CALVARY APOSTOLIC CHURCH,                                 lnc.,

                            Defendants.


                                                                     APPEARANCE

  Party Classification:                  Initiating       X    Responding _|ntervening

     1.       The undersigned                    attorneys listed on this form now appear
                                           attorney and             all                                                      in this   case
              for the foliowing party member(s): The Estate of Eleanor Northinqton


              Applicable attorney information for service as required by Trial Rule 5(B)(2) and for case
              information as required by Trial Rules 3.1 and 77(B) is as follows:
              Name: Lara Pleasants                  Atty Number |D# 10661-49
              Address: 7508 Madison Ave.            Phone: 1317) 881-8900
                     Indianapolis, IN       46227              FAX:(317) 881-7544 Email: Iarrv@larrvpleasants.com

              There are other party members:                          Yes_      No_x

              If    first   initiating   party       filing   this    case, the Clerk         is   requested to assign     this   case the
              following       Case Type under Administrative Rule                       8(b)(3):     CT

              I    will   accept service by          FAX      at the       above noted number. Yes_ No_x

              This case involves support issues.                            Yes_ Nol

              There are related cases:                    Yes_ NOL (If yes,            list   on continuation page).

              This form has been served on                      all       other parties. Certificate of service    is   attached. Yes_x


              Additional information required by local rule




                                                     '
                                                         ﬂARRMASWmmey
                                                           THE ESTATE OF ELEANOR NORTHINGTON
                                                                                                          for Plaintiff,
Case 1:21-cv-00406-TWP-TAB Document 1-2 Filed 02/22/21 Page 2 of 31 PageID #: 8




                                                       Certificate of Service


            This    is   to certify that a   copy of   this   document has been served on the Defendants, The

  City of Indianapolis         and Indianapolis Metropolitan Police Department, and John Doe, Police

  Officers, 1—50 in Their Individual Capacities                and   Mt. Calvary Apostolic Church, Inc.   by United

  States,   first   class,    pre—paid postage this       Ajay             of January, 2021.




                                                                                                            J   7


  Larry Pleasants
  Attorney at Law
  7508 Madison Ave.
  Indianapolis, IN         46227
  PH: (317) 881-8900
Case 1:21-cv-00406-TWP-TAB 49D02-2101-CT-002698
                           Document 1-2 Filed 02/22/21 Page 3 of 31 PageID
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                                                                              1/26/2021 12:39 PM
                                                                                                                                                  Clerk
                                                          Marion Superior Court 2                                                Marion County, Indiana




  STATE OF INDIANA                              )        IN   THE MARION COUNTY SUPERlOR COURT
                                                )

  COUNTY OF MARION                              )        CAUSE         NO.

  THE ESTATE OF ELEANOR NORTHINGTON                                            )

                                                                               )

                        Plaintiff,                                             )

                                                                               )

               Vs.
                                                                               3

  THE CITY OF INDIANAPOLIS and                                                 )

  INDIANAPOLIS METROPOLITAN                                                    )

  POLICE DEPARTMENT and JOHN DOE, POLICE                                       )

  OFFICERS,           1-50   In   Their Individual                             )

  and    Official    Capacities and                                            )

  MT.    CALVARY APOSTOLIC CHURCH,                            INC.,            )

                                                                               )

                        Defendants.                                            )



                                                               COMPLAINT

               Comes now          the   Plaintiff,   The Estate   of Eleanor Northington,          and brings the following

  causes of actions against               all   named Defendants and               individual   IMPD   officers   whose    identities


  will   be determined through discovery.

  Parties to Complaint:


          1.   The    Plaintiff,   The Estate         of Eleanor Northington,          whose Administrator        is,   D’ASIA

               MONTGOMERY,                can be served through counsel whose contact information                         is



               below.


          2.    The   City of Indianapolis;


          3.    John Doe      Officers;


          4.    Mt. Calvary Apostolic Church, Inc.                is   a Christian Church located          in   Indianapolis,


                Indiana.     Mt. Calvary            can be served      at   6635   E. 42nd Street Indianapolis, Indiana          46226;
Case 1:21-cv-00406-TWP-TAB Document 1-2 Filed 02/22/21 Page 4 of 31 PageID #: 10




           On    February   7,
                                                            M
                                 2019 Ms. Eleanor Northington, was attending a church service with

           her daughters, son, and son             in   law at Mt. Calvary Apostolic Church;

           Ms. Northington’s youngest daughter                is   under the age of majority;

           Ms. Northington’s son           is   under the age of     majority;


           Ms. Eleanor Northington had long suffered from mental                      illness;


           Ms. Eleanor Northington was massively obese

           At   some    point during the service, Ms. Northington suffered a psychotic episode;


           Ms. Northington began            to act belligerently     towards members of the choir and towards

           the Church Pastor;


           Ms. Northington        left   the sanctuary area of Mt. Calvary          and removed her           clothes;


           At   some    point,   Ms. Northington appeared            in   the sanctuary area     in   a state of undress;

     10. Ms. Northington put her clothes                 back on but continued       to act belligerently,      swearing at

           and   spitting   on congregants and church              staff.



     11. At     some    point,   Ms. Northington was restrained by                members   of the church;


     12.   One congregant         called the police;


     13. At     some    point,   a cloth was placed over Ms. Northington’s mouth apparently to keep

           her   spit   from Ianding on bystanders;

     14.   When IMPD        arrived,      John Doe Officer #1 restrained Ms. Northington                 in   handcuffs.


     15. Ms. Northington          was handcuffed behind her               back;


     16.   An unknown IMPD               officer wrestled   Ms. Northington to the ground on her stomach.

     17.   Upon    information and belief, an            IMPD   officer “placed     a knee” on Ms. Northington’s

           back while she was handcuffed face—down;
Case 1:21-cv-00406-TWP-TAB Document 1-2 Filed 02/22/21 Page 5 of 31 PageID #: 11



    18.    The   floor of Mt. Calvary   Church   is   covered    in   shag carpeting;

    19.    Ms. Northington audibly      told officers   she could not breathe;

    20.    IMPD   officers ignored    Ms. Northington’s cry about not being able to breathe;

    21. Ms. Northington        was unable    to breathe    and suffocated         to   death   in   the old shag


           carpeting;


    22.    IMPD’s use      of excessive force, principally handcuffs, wrestling Ms. Northington to the


           ground on her stomach, “placing a knee           in   her back”, caused Ms. Northington’s death;

    23. Ms. Northington’s minor         son witnessed      his Mother’s tramatic death;




                                   COUNT1 FOURTH AMENDMENT CLAIM

                              (v   IMPD, CITY   OF INDIANAPOLIS, JOHN DOES)

    24.    The   foregoing paragraphs are incorporated by reference as though                        fully   reinstated


           herein;


    25. In violation of Ms. Northington’s fourth          and Fourteenth Amendment                   Rights, the


           Defendants’ used excessive force to restrain and subdue Ms. Northington;

    26. That excessive force caused Ms. Northington to suffocate to death;


     27. Defendants should          have known   that   handcufﬁng a massively obese women, face

           down    in   shag carpet, would   likely   cause serious      injury or death;


     28.   As   a direct, legal, and proximate result of Defendants’ gross negligence or deliberate


           indifference, or reckless disregard for       an obvious       risk;   Ms. Northington was           killed


           causing economic and emotional losses t0 her estate and minor children.
Case 1:21-cv-00406-TWP-TAB Document 1-2 Filed 02/22/21 Page 6 of 31 PageID #: 12




                                                          COUNT 2 BATTERY

                                                               (all    Defendants)

    29.    The foregoing paragraphs are incorporated by reference as though                       fully   reinstated


           herein.


    30. Defendants touched Ms. Northington                        in   a rude, angry, or insolent manner.

    31.    Whether by placing a         cloth       over Ms. Northington’s face;

    32.    Or by handcuffing        her;


    33.    Or be   wrestling her to the ground;


    34.    Or by   “placing a   knee        in    her back";

    35.    Or by burying her face            in   deep shag      carpet;


     36.   Or by methods      to    be determined         in   discovery;


     37.   These contacts       constituted separate instances of the tort of battery;


     38. Collectively these batteries led to Ms. Northington’s death;


     39.   As a   direct, legal,    and proximate         result of Defendants’      excessive force, gross

           negligence, deliberate indifference, or reckless disregard for an obvious                      risk,   Ms.

           Northington    was      killed   causing economic and emotional losses to her estate and

           minor children;

     40.   As a   direct, legal    and proximate          result of Defendants’ batteries, Plaintiff,


           Ms. Northington        was   killed,      causing economic and emotional losses to her estate and

           minor children;
Case 1:21-cv-00406-TWP-TAB Document 1-2 Filed 02/22/21 Page 7 of 31 PageID #: 13



                                                    COUNT          3   NEGLIGENCE

                                                     (Mt. Calvary         Church)

                                                            (All   Defendants)

        41.     The foregoing paragraphs are incorporated by reference as though                           fully   reinstated


                herein;


        42.     Mt. Calvary   owes a duty      to   its   congregants      to   keep    its   parishioners safe;


        43.     Mt. Calvary breached that duty              when one      of   its   Pastors placed a cloth over

                Ms. Northington’s mouth impeding her airways;

        44.     Mt. Calvary’s negligence contributed to the death of Ms. Northington;


        45.     As a   direct, legal,   and proximate         result of Defendants’ batteries, Plaintiff,


                Ms. Northington was        killed   causing economic and emotional losses                  to   her estate and

                minor children;



                                                                          RY PL           orney   ,




                                                                       THE ESTATE OF ELEANOR NORTHINGTON



                                              REQUEST FOR TRIAL BY JURY
                Comes now the       Plaintiff, through the Plaintiff's Attorney, LARRY PLEASANTS,                          and




                                                              (MW
  requests that this cause be set for               trial   by jury.




                                                                                                                   Plaintiff


  Larry Pleasants
  Attorney at Law
  7508 Madison Ave
  lndpls, IN 46227
  PH: 31 7—881-8900
  ID#10661-49
  lar         Iar   leasants.com
    Case 1:21-cv-00406-TWP-TAB Document 1-2 Filed 02/22/21 Page 8 of 31 PageID
                               49D02-2101-CT-002698                              #:1/26/2021
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                                                                                                                                                                    Clerk

                                                             SUMMONS
                                                               Marion Superior Court 2                                                             Marion County, Indiana




                                               In    the Marion County Superior Court


THE ESTATE OF ELEANOR NORTHINGTON
                         Plaintiff,
    -    vs    -                                                                 Cause No.

THE CITY OF INDIANAPOLIS and INDIANAPOLIS
METROPOLITAN POLICE DEPARTMENT and JOHN DOE, POLICE
OFFICERS, 1—50                In   Their Individual and Official Capacities and
Mt. Calvary Apostolic Church, Inc.
                         Defendants.

TO DEFENDANT: (Name)                            The Citv of Indianapolis, c/o Office of Corporation Counsel
                       (Address)                   200 E. Washinqton SL, Rm. 1601
                                                  Indianapolis, IN 46204

              You are hereby       notified that   you have been sued by the person named as                               plaintiff   and   in   the Court
indicated above.


   The nature          of the suit against you       is   stated    in   the complaint which         is    attached to this        Summons.          It   also
states the relief sought or the           demand made          against you by the             plaintiff.



   An answer           or other appropriate response           in    writing to the complaint             must be       filed either     by your or your
attorney within twenty (20) days,            commencing the day after you receive this Summons, (or twenty—three (23)
days     if   this   Summons was       received by mail), or a judgment by default may be rendered against you for the
relief   demanded by         plaintiff.



       If you have a claim for relief against the                    plaintiff arising    from the         same     transaction or occurrence, you
must assert it in your written answer.

       If you need the name of an attorney, you may contact the Indianapolis Bar Association Lawyer Referral

Service (269—2222), or the Marion County Bar Association Lawyer Referral Service (634-3950).


Dated
                      1/26/2021                                                     L,»
                                                                                          men,              (L         5mm} L; (Seal)
                                                                              Clerk, Maf‘ion         County Superior‘bourt
                     (The following manner of service of                  summons        is   hereby designated.)

                Registered or      certified mail.


                   Service at place of employment,           to-wit:


        X            Service on individual (Personal or copy) at above address                        — By       _lV|_a_rio_n   County   Sheriff


                   Other service. (Specify) (On Agent as indicated above.)

Larrv Pleasants   |D#1 0661 ~49
                         —

Attorney for Plaintiff
7508 Madison Ave, Indpls., IN 46227
Address
(31 7) 881 -8900
Telephone
            Case 1:21-cv-00406-TWP-TAB Document 1-2 Filed 02/22/21 Page 9 of 31 PageID #: 15

                                               SHERIFF’S RETURN 0N SERVICE 0F SUMMONS
      I    hereby certify that      I   have served     this   summons on       the ______.___          day of                                      ,   20

      (1)    By    delivering a copy of the        Summons and       a copy of the complaint lo the defendant!

      (2)    By    leaving a copy of the        Summons and       a copy of the complaint ag

which      is   the dwelling place or usual place of abode of
and by mailing a copy of said summons to said defendant                          at the       above address.

       (3)   Other Service or Remarks:




Sheriff’s Costs                                                                                                  Sheriff

                                                                                                                 By:
                                                                                                                       Deputy

                                                          CLERK’S CERTIFICATE 0F MAILING
       I   hereby certify that on the                           day of                                       ,    20-              ,   I   mailed a copy of          this       Summons and     a copy of the

complaint to the defendant,                                                                                       ,   by                                         mail, requesting a return receipt,
at   the address furnished by the plaintiff.


                                                                                                                 Clerk,     Marion Superior Court

Dated:                                                                      ,   20                               By:
                                                                                                                        Deputy

                                                RETURN 0N SERVICE 0F SUMMONS BYMAIL
       I   hereby certify that the attached return receipt was received by                              me   showing         that the       Summons and      a copy of the complaint mailed to

defendant                                                            was accepted by the defendant on the         day of                        20                                                ,



       I   hereby certify that the attached return receipt was received by             me showing that the Summons and a copy of the complaint was returned
not accepted on the                            day of                                     ,
                                                                                              20
       I   hereby certify that the attached return receipt was received by                              me   showing          that the      Summons and          a    copy of the complaint mailed                  to

defendant                                                                                was accepted by                                                                                      on behalf of said

defendant on the                          day of                                     ,   20
                                                                                                                 Clerk, Man’on Superior Court

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                                                                                                                           Deputy




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                                                                                                                                                             Clerk

                                                           SUMMONS
                                                             Marion Superior Court 2                                                        Marion County, Indiana




                                             In   the Marion County Superior Court


THE ESTATE OF ELEANOR NORTHINGTON
                       Plaintiff,
    —    vs   -                                                                Cause No.

THE CITY OF INDlANAPOLIS and INDIANAPOLIS
METROPOLITAN POLICE DEPARTENT and JOHN DOE, POLICE
OFFICERS, 1-50               In   Their Individual and Official Capacities and
Mt. Calvary Apostolic Church, Inc.
                        Defendants.

TO DEFENDANT: (Name)                              INDIANAPOLIS METROPOLITAN POLICE DEPT.
                              (Address)            50 N.    ALABAMA STREET
                                                   Indianapolis, IN           46204

            You are hereby        notified that   you have been sued by the person named as                         plaintiff   and   in   the Court
indicated above.


   The nature         of the suit against   you    is   stated    in   the complaint which         is    attached to this   Summons.          It   also
states the relief sought or the          demand made         against you by the             plaintiff.



   An answer          or other appropriate response          in    writing to the complaint             must be   filed either   by your or your
attorney within twenty (20) days, commencing the day after you receive this Summons, (or twenty-three (23)
days if this Summons was received by mail), or a judgment by default may be rendered against you for the
relief   demanded by        plaintiff.



       If you have a claim for relief against the                  plaintiff arising   from the          same   transaction or occurrence, you
must assert it in your written answer.

       If you need the name of an attorney, you may contact the Indianapolis Bar Association Lawyer Referral

Service (269-2222), or the Marion County Bar Association Lawyer Referral Service (634-3950).

                  1/26/2021                                                     1/26/2021
Dated                                                                                                                            (Seal)
                                                                            Clerk, Marion          County Superior Court
                   (The following manner of service of                  summons        is   hereby designated.)

              Registered or certified mail.

                  Service at place of employment, to—wit:


        X          Service on individual (Personal or copy) at above address                        — By M§_ri_o_r_1 County      Sheriff


                  Other service. (Specify) (On Agent as indicated above.)

Larry Pleasants   ID#1 0661 -49
                        -

Attorney for Plaintiff
7508 Madison Ave, Indpls., IN 46227
Address
$317) 881—8900
Telephone
         Case 1:21-cv-00406-TWP-TAB Document 1-2 Filed 02/22/21 Page 11 of 31 PageID #: 17


    I



    (1)
         hereby certify that

           By
                                I


                  delivering a copy of the
                                             SHERIFF’S RETURN 0N SERVICE 0F SUMMONS
                                     have served   this   summons on

                                                 Summons and
                                                                           the       W           day of

                                                                a copy of the complaint to the defendant,
                                                                                                                                              ,   20



    (2)    By     leaving a copy of the      Summons and     a copy of the complaint a;

which    is   the dwelling place or usual place of abode of
and by mailing a copy of said summons to said defendant                     at the        above address.

    (3)    Other Service or Remarks:




Sheriff’s Costs                                                                                           Sheriff

                                                                                                          By:
                                                                                                                Deputy

                                                     CLERK’S CERTIFICATE 0F MAILING
    I    hereby cenify that on the                         day of                                     ,   20.                ,   I   mailed a copy of           this   Summons and         a copy of the

complaint to the defendant,                                                                                ,   by                                               mail, requesting a return receipt,
at the   address furnished by the plaintiff.


                                                                                                          Clerk,     Marion Superior Court

Dated:                                                                 ,   20                             By:
                                                                                                                Deputy

                                              RETURN 0N SERVICE 0F SUMMONS BYMAIL
     I   hereby certify that the attached return receipt was received by                         me showing            that the       Summons and           a    copy of the complaint mailed                  to

defendant                                                       was accepted by              the defendant          on the                   day of                                          ,   20
     I   hereby certify that the attached return receipt was received by                        me   showing         that the        Summons and a copy of the                    complaint was returned

not accepted on the                day of                         20                  ,



     I   hereby certify that the attached return receipt was received by                         me   showing          that the        Summons and          a copy of the complaint mailed to

defendant                                                                            was accepted by                                                                                     on behalf of said

defendant on the                        day of                                   ,   20
                                                                                                          Clerk, Marion Superior Court

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                                                                                                                    Deputy




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                                                                                                                                                             Clerk

                                                           SUMMONS
                                                             Marion Superior Court 2                                                        Marion County, Indiana



                                             In   the Marion County Superior Court


THE ESTATE OF ELEANOR NORTHINGTON
                       Plaintiff,
    -    vs   -                                                                Cause No.

THE CITY OF INDIANAPOLIS and INDIANAPOLIS
METROPOLITAN POLICE DEPARTENT and JOHN DOE, POLICE
OFFICERS, 1-50               In   Their Individual and Official Capacities and
Mt. Calvary Apostolic Church, Inc.
                        Defendants.

TO DEFENDANT: (Name)                          Mt. Calvary Apostolic Church, Inc.
                      (Address)                    c/o Req. Aqent: Jesse L. Russell,                            Jr.,   6635     E. 42nd St.
                                                   Indianapolis, IN           46226

            You are hereby        notified that   you have been sued by the person named as                         plaintiff   and   in   the Court
indicated above.


   The nature         of the suit against   you    is   stated    in   the complaint which         is    attached to this     Summons.        It   also
states the relief sought or the          demand made         against you by the             plaintiff.



   An answer or         other appropriate response           in    writing to the complaint             must be   filed either   by your or your
attorney within twenty (20) days, commencing the day after you receive this Summons, (or twenty—three (23)
days if this Summons was received by mail), or a judgment by default may be rendered against you for the
relief   demanded by        plaintiff.



       If you have a claim for relief against the                  plaintiff arising   from the          same   transaction or occurrence, you
must assert it in your written answer.

       If you need the name of an attorney, you may contact the Indianapolis Bar Association Lawyer Referral

Service (269—2222), or the Marion County Bar Association Lawyer Referral Service (634-3950).

                   1/26/2021                                                     Lingu,                 a       E‘um...-‘.M
Dated                                                                                                                    c}      (Seal)
                                                                            Clerk, Marion          County Superior Court
                   (The following manner of service of                  summons        is   hereby designated.)

              Registered or certiﬁed mail.

                  Service at place of employment, to—wit:

        X          Service on individual (Personal or copy) at above address                        — By Marion County           Sheriff


                  Other service. (Specify) (On Agent as indicated above.)

Larry Pleasants   lD#10661—49
                        -

Attorney for Plaintiff
7508 Madison Ave, lndpls., IN 46227
Address
(317) 881—8900
Telephone
           Case 1:21-cv-00406-TWP-TAB Document 1-2 Filed 02/22/21 Page 13 of 31 PageID #: 19

                                                 SHERIFF’S RETURN 0N SERVICE 0F SUMMONS
      I    hereby cenify that        I    have served   this   summons on       the      ____ day of                                              ,   20

      (1)    By       delivering a copy of the       Summons     and a copy of the complaint to the defendant!

      (2)    By       leaving a copy of the      Summons and      a copy of the complaint a;

which      is   the dwelling place or usual place of abode of
and by mailing a copy of said summons to said defendant                          at the       above address.

      (3)    Other Service or Remarks:




Shen'ff’s Costs                                                                                               Sheriff

                                                                                                              By:
                                                                                                                    Deputy

                                                          CLERK’S CERTIFICATE 0F MAILING
       I   hereby certify that on the                           day of                                    ,   20.                ,
                                                                                                                                     I   mailed a copy of         this   Summons and        a copy of the

complaint to the defendant,                                                                                    ,   by                                             mail, requesting a return receipt,
at   the address furnished by the plaintiff.


                                                                                                              Clerk,     Marion Superior Court

Dated:                                                                      ,   20                            By:
                                                                                                                    Deputy

                                                  RETURN 0N SERVICE 0F SUMMONS BYMAIL
       I   hereby certify that the attached return receipt was received by                           me showing           that the        Summons and            a copy of the complaint mailed to

defendant                                                            was accepted by             the defendant          on the                   day of                                       ,
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       I   hereby certify that the attached return receipt was received by                          me   showing         that the        Summons and        a copy of the complaint was returned

not accepted on the                  day of                        20                     ,


       I   hereby certify that the attached return receipt was received by                           me   showing          that the       Summons and            a copy of the complaint mailed to

defendant                                                                                was accepted by                                                                                  on behalf of said

defendant on the                            day of                                   ,   20
                                                                                                              Clerk, Minion Superior Court

                                                                                                              By:
                                                                                                                        Deputy



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                                                                                                                          Clerk
                                                                                                         Marion County, Indiana




   STATE OF INDIANA               )
                                                              IN THE      MARION SUPERIOR COURT
                                  )
                                       SS:
   COUNTY OF MARION               )
                                                              CAUSE NO. 49D02—2101-CT-002698

   THE ESTATE OF ELEANOR NORTHINGTON,                                 )

                                                                      )

                                  Plaintiff,                          )

                                                                      )

                         V.                                           )

                                                                      )

   CITY 0F INDIANAPOLIS AND INDIANAPOLIS                              )

   METROPOLITAN POLICE DEPARTMENT AND                                 )

   JOHN DOE, POLICE OFFICERS 1—50 1N THEIR                            )

   INDIVIDUAL AND OFFICIAL CAPACITIES,                                )

   AND MT. CALVARY APOSTOLIC CHURCH,                                  )

   INC,                                                               )

                                                                      )

                                  Defendants.                         )




                   E-FILING    APPEARANCE BY ATTORNEY IN CIVIL CASE

  1.      The party on Whose behalf this form           is   being   filed   is:   Responding

          The undersigned attorneys           listed   on   this   form now appear        in this case for the
          following parties:

          CITY OF INDIANAPOLIS and INDIANAPOLIS METROPOLITAN POLICE                          DEPARTMENT

  2.      Attorney information for service as required by Trial Rule                   5(B)(2):


          Name:         Adam S. Willfond          (31565-49)
          Address:      200 East Washington Street, Suite 1601
                        Indianapolis,        IN 46204
          Phone:        317.327.4055
          Fax:          317.327.3968
          Email:        adam.willfond@indv.gov

          Name:         Allison   J.   Smith (35366-49)
          Address:      200 East Washington Street, Suite 1601
                        Indianapolis,        IN 46204
          Phone:        317.327.4055
          Fax:          317.327.3968
          Email:        allison.smith@indv.gov
Case 1:21-cv-00406-TWP-TAB Document 1-2 Filed 02/22/21 Page 15 of 31 PageID #: 21




        This   is   a   ”CT”   case type as defined in Administrative Rule 8(B)(3).


        I   will not accept service     from other   parties   by FAX     01'   E-mail.


        This case does not involve Child support issues.


        This case does not involve a protection from abuse order, a workplace Violence
        restraining order, or a no-contact order.


        This case does not involve a petition for involuntary commitment.


        There are n0 individuals subject t0 a petition for involuntary commitment.

        The appearing attorneys are not aware            of related cases.


  10.   There    is     no additional information required by         local rule.


  11.   The appearing attorneys are not aware            of other party         members.

  12.   This form has been served 0n all other parties and Certificate of Service          is   attached.


                                                  Respectfully submitted,


                                                  OFFICE 0F CORPORATION COUNSEL


                                                  /s/Adam      S.   Willfond
                                                  Adam S. Willfond          (31565-49)
                                                  Deputy Chief Litigation Counsel
                                                  200 E. Washington Street, Suite 1601
                                                  Indianapolis, IN 46204
                                                  317.327.4055
                                                  adam.willfond@indy.gov
Case 1:21-cv-00406-TWP-TAB Document 1-2 Filed 02/22/21 Page 16 of 31 PageID #: 22



                                 CERTIFICATE OF SERVICE

        I   certify that the foregoing   was electronically filed on February 5, 2021 through

  the Indiana E-Filing System,     and the following Registered User was served Via E-

  Service through that System     0n the same day:

        Larry Pleasants (10661-49)
        larrv@1arrvpleasants.com



                                               /s/   Adam   S.   Willfond
                                               Adam S. Willfond (31565—49)
                                               Deputy Chief       Litigation Counsel
Case 1:21-cv-00406-TWP-TAB Document 1-2 Filed 02/22/21 Page 17 of 31 PageID  #: 23
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                                                                                                          Marion County, Indiana




   STATE OF INDIANA               )
                                                               IN THE    MARION SUPERIOR COURT
                                  )
                                       SS:
   COUNTY OF MARION               )
                                                               CAUSE NO. 49D02—2101-CT-002698

   THE ESTATE OF ELEANOR NORTHINGTON,                                )


                                                                     )

                                   Plaintiff,                        )


                                                                     )

                          V.

                                                                     i

   CITY OF INDIANAPOLIS AND INDIANAPOLIS                             )

   METROPOLITAN POLICE DEPARTMENT AND                                )

   JOHN DOE, POLICE OFFICERS 1-50 IN THEIR                           )

   INDIVIDUAL AND OFFICIAL CAPACITIES,                               )

   AND MT. CALVARY APOSTOLIC CHURCH,                                 )

   INC,                                                              )


                                                                     )

                                   Defendants.                       )




                    NOTICE OF AUTOMATIC ENLARGEMENT OF TIME
           The Defendants, City       of Indianapolis       and Indianapolis Metropolitan Police

  Department, by counsel and pursuant t0 Local Rule 49-TR5-203(D) herby notify the

  Court 0f their automatic     initial   enlargement 0f time to answer 0r otherwise respond to

  the Plaintiff’s Complaint. In support 0f this notice, the Defendants state:


              1.   The Defendants received          service of the Plaintiff’s   Complaint 0n January

  29, 2021.


              2.   The Defendants’ answer 0r other response              t0 the Plaintiff’s   Complaint   is



  due February     22, 2021.


              3.   Counsel for the Defendants reasonably requires an additional                 thirty   days

  to   examine the allegations in the        Plaintiff’s   Complaint and prepare defenses.

              4.   The enlargement       0f time t0   answer 0r otherwise respond        t0 the Plaintiff’s
Case 1:21-cv-00406-TWP-TAB Document 1-2 Filed 02/22/21 Page 18 of 31 PageID #: 24



  Complaint does not      interfere   with any Case Management Plan, scheduled hearings, or

  other case deadlines.


              5.   Under LR 49-TR5-203(D),     a thirty-day enlargement of time ”shall be


  automatically allowed. .Without a written order of the Court.”
                             .




              6.   An additional thirty days will make the Defendants’        answer or other

  response to the    Plaintiff’s   Complaint due March   24, 2021.


                                                Respectfully submitted,


                                                OFFICE 0F CORPORATION COUNSEL


                                                /s/Adam   S. VVillfond

                                                Adam S. Willfond (31565-49)
                                                Deputy Chief Litigation Counsel
                                                200 E. Washington Street, Suite 1601
                                                Indianapolis, IN 46204
                                                317.327.4055
                                                adam.willfond@indv.gov




                                      CERTIFICATE OF SERVICE

        I   certify that the foregoing    was electronically filed on February 5, 2021 through

  the Indiana E-Filing System,         and the following Registered User was served via E-

  Service through that System         0n the same day:

        Larry Pleasants (10661-49)
        larrv@1arrvpleasants.com



                                                /s/   Adam   S.   Willfond
                                                Adam S. Willfond (31565—49)
                                                Deputy Chief       Litigation Counsel
                                                               '

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                                                                       In   the Marion County Superior Court


           THE ESTATE OF ELEANOR NORTHINGTON
                                       Plaintiff
               -    vs    -                                                                                    Cause N0.

           THE CITY OF INDIANAPOLIS and INDIANAPOLIS                                                                                   -




           METROPOLITAN POLICE DEPARTMENT and JOHN DOE POLICE
           OFFICERS,               1   —50    In   Their Individual and Ofﬁcial Capacities and
           Mt Calvarv Apostolic Church                                      Inc.
                                       Defendants.

           TO DEFENDANT: (Name)                                        The Citv 0f Indianapolis, c/o Office of Corporation Counsel
                                   (Address)                             200 E. Washinqton St, Rm. 1601
                                                                         Indianapolis. IN 46204


                       You are hereby              notiﬁed that you have                   been sued by the person named as                              plaintiff   and   in          the Court
           indicated above.                                        _




              The nature           0f the suit against you                   is   stated    in   the complaint which                   is   attached to~this    Summons.                     It   also
           states the relief sought or the                demand made                  against you by the                    plaintiff.



              An answer or other appropriate response in writing to the complaint must be filed either by your or your
           attorney within twenty (20) days. commencing the day after you receive this Summons, (or twenty-three (23)
           days if this Summons was received by mail), or a judgment by default may be rendered against you for the
           relief   demanded by              plaintiff.



                  If you have a claim for relief against the                                    plaintiff an‘sing        from the           same     transaction or occurrence. you
           must assert it in your written answer.                             .




                         if   you need the name
                                          an attorney. you may contact the Indianapolis Bar Association Lawyer Referral
                                                          of
           Service (269-2222), or the Marion County Bar Association Lawyer Referral Service (634-3950).

                                  1/26/2021                                                                                                           62mm, a (Seal)
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           Dated                                                                                                     gnu“;                     (L.
                                                                                                         Clerk, Marlon                 County SuperiorJCourt                           v




                                (The following manner of service of summons                                             is    hereby designated. )

                              Registered or certiﬁed mail.

                               Service at place of employment,                        to—wit:


                   X            Service on individual (Personal 0r copy) at above address                                                  —   By__
                                                                                                                                                Marion County         Sheriff


                               Other service. (Specify) (On Agent as indicated above.
                                                                                           /—    ‘
                                                                                                                              )H
                                                                                                 ~21m         GT- 002593
           Larry Pleasants             —   ID#1 0661-49                                     agnoz—
           Attorney for Plaintiff                                                           ssmlcgaRammed
                                                                                                                 Served

           7508 Madison AveJ lndpls., IN 46227

           u_—
           Telephone
                                                                                            \\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\
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                      Case 1:21-cv-00406-TWP-TAB Document 1-2 Filed 02/22/21 Page 20 of 31 PageID #: 26


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39418821




                                                                               SHERIFF’S RETURN 0N SERVICE _0F SUMMONS
                                                                                                                                                                                                                                                                    ‘

                 Ihereby            certify that             I   have served                     this   summons on        the                             day     'of                                                 .20

                 (1)   By       delivering a copy of the                            Summons and               a copy of the complaint to the defendant,                                                       5




                 (2)   By       leaving a copy of the                          Summons and                  a copy of the complaint a;
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           which      ls   the dwelling place or usual place of abode of
           and by mailing a copy of said summons to said defendant                                                         at the        above address

                 (3)   Other Service or Remarks:




           Sheriﬁ’s Costs                     v
                                                                                                                  .                                               Sheriff

                                                                                                                                                                      By:
                                                                                                                                                                            Deputy

                                                                                                    CLERK’S CERTIFICATE 0F MAILING                                                                                              >




                 I    hereby certify that on the                                                         day of                                                   ,   20-                   ,   l    mailed a copy-of-this                        Summons and      a copy of the
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           complaint to the defendant,                                          r
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                                                                                                                                                                        by                                                              mail, requesting a return receipt,
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           at   the address fu_mished by thevplaintiff.


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                                                                                                                                                                      Clerk, Marion Superior Court
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           Dated:                                                                        ﬂ
                                                                                                                      ,   20                                          By:                                                 -




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                                                                                                                                                                            Deputy

                                                                                    RETURN 0N SERVICE 0F SUMMONS BYMAIL
                  I   hereby certify that the attached return receipt was received by                                                                     me      showing          that the               Summons and               a copy of the complaint mailed to

           defendant                                                                                           was accepted by the defendant on [he         day of                        20                                                                         ,



                  Ihereby             certify that the attached return                                   receipt was received by me showing that the Summons and a copy of the complaint was returned

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                  1   hereby certify that the attached return receipt was received by                                                                     me      showing          that the               Summons and               a copy of the complaint mailed to

           defendant                                              -
                                                                                                                                    was accepted by                            .
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            defendant on the                                              day 0f                                                ,   20                                                               7-




                                                                                                                                                                      Clerk. Marion Superior Court

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                                                                                                                                          Marion County, Indiana




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  STATE 0F INDIANA                     )                         IN         THE MARION SUPERIOR COURT
                                       )   ss:
  COUNTY 0F MARION                     )                         CAUSE No.:                           49D02—2101—CT—00268



  THE ESTATE OF ELEANOR NORTHINGTON                                                  )

                  Plaintiff,                                                         )

                                                                                     )
  V.                                                                                 )

                                                                                     )
  THE CITY OF INDIANAPOLIS, INDIANAPOLIS                                             )
  METROPOLITAN POLICE DEPARTMENT, JOHN                                               )

  DOE, OFFICERS 1-50 in their individual and ofﬁcial                                 )

  capacities, and MT. CALVARY APOSTOLIC                                              )

  CHURCH,      INC.                                                                  )

                                                                                     )

                  Defendants.                                                        )



                                                 APPEARANCE (CIVIL)
  Party Classiﬁcation:      Initiating     _         Responding                 V—                            Intervening   _
  1.     The undersigned         attorney and all attorneys listed on this form now appear in this                             case for the
         following party member(s).          MT. CALVARY APOSTOLIC CHURCH, INC.

  2.     Attorney Information:


         Benjamin G. Stevenson                                                                         Attorney No. 24415—53
         bstevenson@threlkeld-legal.com
         THRELKELD         02‘   STEVENSON                                                             Phone: 317.655.5200
         101   West Ohio   Street, Suite     550                                                       Fax:   317.655.3150
         Indianapolis, Indiana       46204

  3.     There are other patty members.              Yes   (        )           No       (   V    )



  4.     Ifﬁrst initiatingpartyﬁling this case, the Clerk                        is          requested to assign this case the following
         Case Type under Administration Rule                   8(b)(3).                           N/A

  5.     FAX SERVICE IS NOT ACCEPTABLE.

  6.     This case involves support issues.              Yes    (           )    N0           (   V     )




  7.     There are related cases.          Yes   (   )         N0.      (   V        )




                                                               Page         1   of2
Case 1:21-cv-00406-TWP-TAB Document 1-2 Filed 02/22/21 Page 23 of 31 PageID #: 29



                                                                                           6100.6210754/PAJ/maw




  8.      This form has been served on all parties. Certificate of Service is attached. Yes ( ✔) No ( )

                                                           THRELKELD ❖ STEVENSON

                                                   By:     /s/Benjamin G. Stevenson                 ___
                                                           Benjamin G. Stevenson
                                                           Attorney No. 24415-53
                                                           Attorney for Defendant, Mt. Calvary Apostolic
                                                           Church, Inc.


                                      CERTIFICATE OF SERVICE

         I hereby certify that a copy of the foregoing will be served to all opposing counsel of record via
  the Court’s electronic e-mail service and filing system, this 19th day of February, 2021:

  Larry Pleasants
  Attorney at Law
  7508 Madison Avenue
  Indianapolis, Indiana 46227

  Adam Willfond
  Allison J. Smith
  200 East Washington Street
  Suite 1601
  Indianapolis, Indiana 46204


                                                           /s/Benjamin G. Stevenson
                                                           Benjamin G. Stevenson

  THRELKELD ❖ STEVENSON
  Attorneys at Law
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  Indianapolis, Indiana 46204-1984
  Phone: 317.655.5200
  Fax: 317-655-3150




                                                 Page 2 of 2
Case 1:21-cv-00406-TWP-TAB Document 1-2 Filed 02/22/21 Page 24 of 31 PageID
                                                                        Filed:#: 30
                                                                              2/19/2021                                                                11 :40   AM
                                                                                                                                                           Clerk
                                                                                                                                          Marion County, Indiana




                                                                                                                             6100.6210754/PAJ/maw




  STATE 0F INDIANA                     )                         IN         THE MARION SUPERIOR COURT
                                       )   ss:
  COUNTY 0F MARION                     )                         CAUSE No.:                           49D02—2101—CT—00268



  THE ESTATE OF ELEANOR NORTHINGTON                                                  )

                  Plaintiff,                                                         )

                                                                                     )
  V.                                                                                 )

                                                                                     )
  THE CITY OF INDIANAPOLIS, INDIANAPOLIS                                             )
  METROPOLITAN POLICE DEPARTMENT, JOHN                                               )

  DOE, OFFICERS 1-50 in their individual and ofﬁcial                                 )

  capacities, and MT. CALVARY APOSTOLIC                                              )

  CHURCH,      INC.                                                                  )

                                                                                     )

                  Defendants.                                                        )



                                                 APPEARANCE (CIVIL)
  Party Classiﬁcation:      Initiating     _         Responding                 V—                            Intervening   _
  1.     The undersigned         attorney and all attorneys listed on this form now appear in this                             case for the
         following party member(s).          MT. CALVARY APOSTOLIC CHURCH, INC.

  2.     Attorney Information:


         Paul A. Jansen                                                                                Attorney No. 29972—49
         piansenabthrelkeld—legalcom
         THRELKELD         .20   STEVENSON                                                             Phone: 317.655.5200
         101   West Ohio   Street, Suite     550                                                       Fax:   317.655.3150
         Indianapolis, Indiana       46204

  3.     There are other patty members.              Yes   (        )           No       (   V    )



  4.     Ifﬁrst initiatingpartyﬁling this case, the Clerk                        is          requested to assign this case the following
         Case Type under Administration Rule                   8(b)(3).                           N/A

  5.     FAX SERVICE IS NOT ACCEPTABLE.

  6.     This case involves support issues.              Yes    (           )    N0           (   V     )




  7.     There are related cases.          Yes   (   )         N0.      (   V        )




                                                               Page         1   of2
Case 1:21-cv-00406-TWP-TAB Document 1-2 Filed 02/22/21 Page 25 of 31 PageID #: 31



                                                                                                         6100.6210754/PAJ/maw




  8.        This form has been served on   all parties.   Certiﬁcate 0f Service   is   attached.   Yes   (   V   )   N0   (   )




                                                                 THRELKELD             '3’   STEVENSON

                                                          By:    /s/Paul A. Jansen
                                                                 Paul A. Jansen, Attorney No. 29972—49
                                                                 Attorney for Defendant, Mt. Calvary Apostolic
                                                                 Church, Inc.



                                          CERTIFICATE OF SERVICE

          I hereby certify that a copy of the foregoing will be served to all opposing counsel of record Via

  the Court’s electronic e—mail service and ﬁling system, this 19th day 0f February, 2021:


  Larry Pleasants
  Attorney   at   Law
  7508 Madison Avenue
                    46227
  Indianapolis, Indiana


  Adam Willfond
  AllisonJ. Smith

  200 East Washington        Street
  Suite 1601
  Indianapolis, Indiana      46204



                                                                 /s/Pau1 A. Jansen
                                                                 Paul A. Jansen



  THRELKELD          ‘3‘   STEVENSON
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  Fax: 317—655—3150




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Case 1:21-cv-00406-TWP-TAB Document 1-2 Filed 02/22/21 Page 26 of 31 PageID
                                                                        Filed:#: 32
                                                                              2/19/2021                                                            11:40 AM
                                                                                                                                                       Clerk
                                                                                                                                      Marion County, Indiana




                                                                                                                       6100.6210754/PAJ/maw




  STATE 0F INDIANA                      )                       IN    THE MARION SUPERIOR COURT
                                        )   ss:
  COUNTY 0F MARION                      )                       CAUSE No.:           49D02—2101—CT—00268



  THE ESTATE OF ELEANOR NORTHINGTON                                        )

                     Plaintiff,                                            )

                                                                           )
  V.                                                                       )

                                                                           )
  THE CITY OF INDIANAPOLIS, INDIANAPOLIS                                   )
  METROPOLITAN POLICE DEPARTMENT, JOHN                                     )

  DOE, OFFICERS 1-50 in their individual and ofﬁcial                       )

  capacities, and MT. CALVARY APOSTOLIC                                    )

  CHURCH,        INC.                                                      )

                                                                           )

                     Defendants.                                           )



                                     MOTION FOR ENLARGEMENT OF TIME
            COMES NOW the Defendant,                  Mt. Calvary Apostolic Church,                Inc.,   by   counsel, and respectfully


  moves the Court       for an enlargement       0ftime under T.R. 6(B)(1) in Which to respond t0                   Plaintiff‘s   Complaint

  for   Damages. In support of this motion, Defendant would show the                         court:


            1.       That Defendant, Mt. Calvary Apostolic Church,                        Inc.   was served with process 0n or about

  February 12, 2021, and a response          is   due on or about March         4,   2021.


            2.       That   this   motion   if   ﬁled before the expiration 0f said time.


            3.       That such enlargement of time of thirty (30) days from the date of the ﬁling 0f this motion


  is   necessary due t0 the nature and subject matter herein and due to the necessity for consultation between


  the undersigned counsel and his client.


            4.       That pursuant to such enlargement of time, Defendant’s response t0                            Plaintiff’s    Complaint

  for   Damages   will   be due on or before April       3,   2021.


            WHEREFORE,             Defendant, Mt.         Calvary Apostolic Church,                   Inc.,     prays the coult for an


  enlargement 0f time 0f thirty (30) days, t0 and including Apn'l                    3,   2021, in which to answer Plaintiffs




                                                              Page    1   of2
Case 1:21-cv-00406-TWP-TAB Document 1-2 Filed 02/22/21 Page 27 of 31 PageID #: 33



                                                                                                      6100.6210754/PAJ/maw




  Complaint for Damages        to said   Defendant, and for   all   other reliefjust and proper in the premises.


                                                                      THRELKELD         '3’   STEVENSON

                                                         By:          /s/Beniamin G. Stevenson
                                                                      Benjamin G. Stevenson
                                                                      Attorney N0. 24415-53
                                                                      Attorney for Defendant, Mt. Calvary Apostolic
                                                                      Church, Inc.


                                             CERTIFICATE OF SERVICE

          I hereby certify that a copy of the foregoing will be served to all opposing counsel of record Via

  the Court’s electronic e-mail service and ﬁling system, this 19th day 0f February, 2021:


  Larry Pleasants
  Attorney   at   Law
  7508 Madison Avenue
  Indianapolis, Indiana 46227


  Adam Willfond
  AllisonJ. Smith

  200 East Washington        Street
  Suite 1601
  Indianapolis, Indiana      46204



                                                                      /s/Benjamin G. Stevenson
                                                                      Benjamin G. Stevenson


  THRELKELD          0:.   STEVENSON
  Attorneys    at   Law
  101 West Ohio Street, Suite 550
  Indianapolis, Indiana      46204-1984
  Phone: 317.655.5200
  Fax: 3 17-655-3 150




                                                       Page 2 of 2
Case 1:21-cv-00406-TWP-TAB Document 1-2 Filed 02/22/21 Page 28 of 31 PageID
                                                                        Filed:#: 34 11:40 AM
                                                                              2/19/2021
                                                                                                                         Clerk
                                                                                                        Marion County, Indiana




                                                                                           6100.6210754/PAJ/maw



  STATE OF INDIANA                  )                   IN THE MARION SUPERIOR COURT
                                    ) SS:
  COUNTY OF MARION                  )                   CAUSE NO.: 49D02-2101-CT-00268


  THE ESTATE OF ELEANOR NORTHINGTON                           )
             Plaintiff,                                       )
                                                              )
  v.                                                          )
                                                              )
  THE CITY OF INDIANAPOLIS, INDIANAPOLIS                      )
  METROPOLITAN POLICE DEPARTMENT, JOHN                        )
  DOE, OFFICERS 1-50 in their individual and official         )
  capacities, and MT. CALVARY APOSTOLIC                       )
  CHURCH, INC.                                                )
                                                              )
                   Defendants.                                )


                DEFENDANT'S TRIAL RULE 38(B) REQUEST FOR TRIAL BY JURY

          Come now the Defendant, Mt. Calvary Apostolic Church, Inc., pursuant to Trial Rule 38(B), and

  respectfully requests this matter be tried by jury.

                                                              THRELKELD ❖ STEVENSON

                                                        By:   /s/Benjamin G. Stevenson                 ___
                                                              Benjamin G. Stevenson
                                                              Attorney No. 24415-53
                                                              Attorney for Defendant, Mt. Calvary Apostolic
                                                              Church, Inc.



                                        CERTIFICATE OF SERVICE

         I hereby certify that a copy of the foregoing will be served to all opposing counsel of record via
  the Court’s electronic e-mail service and filing system, this 19th day of February, 2021:

  Larry Pleasants
  Attorney at Law
  7508 Madison Avenue
  Indianapolis, Indiana 46227




                                                   Page 1 of 2
Case 1:21-cv-00406-TWP-TAB Document 1-2 Filed 02/22/21 Page 29 of 31 PageID #: 35



                                                                         6100.6210754/PAJ/maw



  Adam Willfond
  Allison J. Smith
  200 East Washington Street
  Suite 1601
  Indianapolis, Indiana 46204


                                              /s/Benjamin G. Stevenson
                                              Benjamin G. Stevenson

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                                     Page 2 of 2
Case 1:21-cv-00406-TWP-TAB Document 1-2 Filed 02/22/21 Page 30 of 31 PageID #:F36I                                        LED
                                                                                                                     February 22, 2021
                                                                                                                   CLERK OF THE COURT
                                                                                                                     MARION COUNTY
                                                                                                                                 BO

                                                                                                   6100.6210754/PAJ/maw




  STATE OF INDIANA                  )               IN    THE MARION SUPERIOR COURT

  COUNTY OF MARION                  )               CAUSE NO.:          49D02-2101-CT-00268



  THE ESTATE OF ELEANOR NORTHINGTON                              )

                      Plaintiff,                                 )

                                                                 )
                                                                                        GRANTED
                                                                                         February 22, 2021
  V                                                              )

                                                                 )
  THE CITY OF INDIANAPOLIS, INDIANAPOLIS                         )
  METROPOLITAN POLICE DEPARTMENT, JOHN                           )

  DOE, OFFICERS 1-50 in their individual and ofﬁcial             )

  capacities, and MT. CALVARY APOSTOLIC                          )

  CHURCH,       INC.                                             )

                                                                 )

                      Defendants.                                )



                            ORDER ON MOTION FOR ENLARGEMENT OF TIME
          Defendant, Mt. Calvary Apostolic Church,            Inc.,   having ﬁled herein Defendant’s Motion for


  Enlargement 0f Time, and the Court being duly advised in the premises,        now ﬁnds     that said   Motion should

  be granted.

          IT    IS,   THEREFORE, ORDERED, ADJUDGED AND DECREED                               by   the Court that said


  Defendants are granted an enlargement of time up t0 and including April          3,   2021, Within Which t0 ﬁle a


  response t0 Plaintiff’s Complaint for Damages.




        February 22, 2021
                                                                                                              BO


  DATED:
                                                                          JUDGE, Marion      Superior Court No. 2




                                                   Page   1   0f2
Case 1:21-cv-00406-TWP-TAB Document 1-2 Filed 02/22/21 Page 31 of 31 PageID #: 37



                                                                 6100.6210754/PAJ/maw



  Distribution to:

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  Paul A. Jansen
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  101 West Ohio Street, Ste 550
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                                     Page 2 of 2
